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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION

LISA WATKINS,                                   )
Plaintiff                                       )
                                                )
vs.                                             )   Civil Action No. 3:20-cv-00246 JTK
                                                )
ANDREW SAUL, Commissioner,                      )
Social Security Administration,                 )
Defendant                                       )

                                            ORDER

       Before the Court is Defendant’s Unopposed Motion To Reverse and Remand (Doc. No. 11).

The Commissioner (“Defendant”) requests this remand to allow for further administrative

proceedings. Upon examination of the merits of this case, it is hereby ORDERED that this Motion

be granted and this case be reversed and remanded to the Commissioner for further administrative

action pursuant to sentence six of section 205(g) of the Social Security Act, 42 U.S.C.§405(g).

       SO ORDERED this 25th day of January, 2021.



                                                         ________________________________
                                                         UNITED STATES DISTRICT JUDGE
